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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                VALDOSTA DIVISION

PIMPAKTRA RUST

        Plaintiff,

vs.                                                CIVIL ACTION

VINA E. RUST, CHAKDHARI A. RUST, Case No. 7:21-cv-00105-HL
and THE BRYN MAWR TRUST
COMPANY OF DELAWARE

        Defendants.


  ANSWER AND DEFENSES OF VINA ELISE RUST, CHAKDHARI ANISSA RUST,
   INDIVIDUALLY AND AS CO-EXECUTORS OF THE ESTATE OF RICHARD C.
 RUST, SUCCESSOR IN INTEREST AS EXECUTOR OF THE ESTATE OF PHILIP G.
                     RUST, JR. AND COUNTERCLAIM

         COME NOW, VINA ELISE RUST, CHAKDHARI ANISSA RUST, INDIVIDUALLY

AND AS CO-EXECUTORS OF THE ESTATE OF RICHARD C. RUST, SUCCESSOR IN

INTEREST AS EXECUTOR OF THE ESTATE OF PHILIP G. RUST, JR., defendants in the

above-entitled action, and, in answer to Plaintiffs Verified Complaint For Declaratory Judgment

and Injunctive Relief, show, as follows:

                                        FIRST DEFENSE

Plaintiff's complaint fails to state a claim upon which relief may be granted.

                                      SECOND DEFENSE

The Superior Court of Thomas County is an improper venue for this action.




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                                        THIRD DEFENSE

The Superior Court of Thomas County lacks personal jurisdiction over these defendants.

                                       FOURTH DEFENSE

Plaintiff has failed to join an indispensable party.

                                         FIFTH DEFENSE

Plaintiff has unclean hands and is not entitled to declaratory, injunctive, or equitable relief.

                                         SIXTH DEFENSE

This same action was previously filed and currently pending in the Chancery Court of the State

of Delaware as Civil Action Number 2020-0762- SG; consequently, this action should be stayed.

                                       SEVENTH DEFENSE

Plaintiff is not entitled to equitable relief, as Plaintiff has an adequate remedy at law.

                                       EIGHTH DEFENSE

Defendants have fulfilled all of their duties under section 4.2(b) of the Limited Liability

Company Agreement of Goodenow LLC dated April 30, 2012 (the “Operating Agreement”).

                                        NINTH DEFENSE

                                        (Responsive Answer)

                                      Jurisdiction and Venue

        1. Paragraph 1 of the complaint is admitted.

        2. Paragraph 2 of the complaint is admitted.




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        3. Paragraph 3 of the complaint is denied.

        4. Defendants neither admit nor deny the truth of the allegations contained in paragraph 4

             of the complaint for lack of sufficient knowledge or information so as to form a belief

             as to the truth thereof.

        5. Paragraph 5 of the complaint is admitted.

        6. Paragraph 6 of the complaint is denied.

        7. Paragraph 7 of the complaint is denied.

        8. Paragraph 8 of the complaint is denied.

                                               Factual Background

        9. Paragraph 9 of the complaint is admitted.

        10. Paragraph 10 of the complaint is admitted.

        11. Paragraph 11 of the complaint is admitted.

        12. Paragraph 12 of the complaint is admitted.

        13. Paragraph 13 of the complaint is denied.

        14. Paragraph 14 of the complaint is denied.

        15. Defendants admit PGR was survived by three brothers: Richard, Francis and Henry.

             Then remaining allegations in Paragraph 15 are denied.

        16. Paragraph 16 of the complaint is admitted.

        17. Paragraph 17 of the complaint is admitted.

        18. Defendants neither admit nor deny the truth of the allegations contained in paragraph

             18 of the complaint for lack of sufficient knowledge or information so as to form a

             belief as to the truth thereof.

        19. Paragraph 19 of the complaint is denied.




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        20. Defendants admit on September 29, 2011, Philip’s executor formed Goodenow LLC, a

             Delaware limited liability company to serve as the holding entity for all of the real

             estate PGR included in his trust. Defendants neither admit nor deny the truth of the

             remaining allegations contained in paragraph 20 of the complaint for lack of sufficient

             knowledge or information so as to form a belief as to the truth thereof. Defendants

             further refer to the documents themselves regarding the precise matter of distribution

             of property.

        21. Paragraph 21 of the complaint is denied. Defendants refer to the documents

             themselves regarding the precise matter of distribution of property.

        22. Paragraph 22 of the complaint is denied.

        23. Paragraph 23 of the complaint is admitted.

        24. Paragraph 24 of the complaint is denied. The language of the Operating Agreement

             will speak for itself.

        25. Defendants admit the Executor’s Deed of Assent is recorded in the real property

             records of Thomas County at Deed Book 1765, Page 85 on May 18, 2012, and is

             attached to the Complaint as Exhibit E. The remaining allegations contained in

             Paragraph 25 are denied.

        26. Defendants admit the lease was entered into between RCR as himself and as the then

             Goodenow Manager. The remaining allegations contained in paragraph 26 of the

             complaint are denied.

        27. Paragraph 27 of the complaint is admitted.




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        28. Defendants admit RCR passed away on September 23, 2019. The remaining

             allegations contained in paragraph 28 of the complaint are denied, and Defendants

             defer to the documents with regard to the precise distribution of property.

        29. Paragraph 29 of the complaint is denied.

        30. Paragraph 30 of the complaint is denied.

        31. Defendants admit the PGR Trust dissolved. The remaining allegations contained in

             Paragraph 31 of the complaint are denied.

        32. Defendants admit after RCR’s death the sisters appointed themselves as Successor

             Managers of Goodenow, pursuant to section 4.1(c) of the operating agreement. The

             remaining allegations contained in paragraph 32 of the complaint are denied.

        33. Defendants admit the property has not been distributed per stirpes. The remaining

             allegations contained in paragraph 33 of the complaint are denied.

        34. Defendants admit, prior to RCR’s death, Goodenow held no bank account, expended

             no funds, and had no employees. The remaining allegations contained in paragraph 34

             of the complaint are denied.

        35. Paragraph 35 with the complaint is denied.

        36. Paragraph 36 of the complaint is denied.

        37. Defendants admit they refuse to acknowledge the Sisters share title to Winnstead as

             tenants in common. The remaining allegations contained in paragraph 37 of the

             complaint are denied.

        38. Paragraph 38 of the complaint is admitted.

        39. Paragraph 39 of the complaint is admitted.




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        40. Defendants admit the marketing proposal is attached as Exhibit G. The remaining

             allegations contained in Paragraph 40 of the complaint are denied.

        41. Paragraph 41 of the complaint is denied.

        42. Paragraph 42 of the complaint is denied.

        43. Paragraph 43 of the complaint is denied.

        44. Paragraph 44 of the complaint is denied.

        45. Paragraph 45 of the complaint is denied.

        46. Defendants admit only Goodenow should be listed on the proposed contract as seller.

             The remaining allegations contained in paragraph 46 of the complaint are denied.

        47. Defendants admit Plaintiff refused to sign the listing agreement. The remaining

             allegations contained in paragraph 47 of the complaint are denied.

        48. Paragraph 48 of the complaint is denied.

        49. Paragraph 49 of the complaint is denied.

        50. Paragraph 50 of the complaint is denied.

        51. Defendants neither admit nor deny the truth of the allegations contained in paragraph

             51 of the complaint for lack of sufficient knowledge or information so as to form a

             belief as to the truth thereof.

        52. Paragraph 52 of the complaint is denied.

        53. Paragraph 53 of the complaint is denied.

        54. Paragraph 54 of the complaint is denied.

        55. Defendants admit the operational costs for all the properties total over $1 million

             annually, as they did during their father’s lifetime, and Defendants have extended




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             credit to Goodenow to pay those costs. The remaining allegations contained in

             Paragraph 55 of the complaint are denied.

        56. Paragraph 56 of the complaint is denied.

        57. Paragraph 57 of the complaint is denied.

        58. Paragraph 58 of the complaint is denied.

        59. Paragraph 59 of the complaint is denied.

        60. Paragraph 60 of the complaint is denied.

        61. Defendants neither admit nor deny the truth of the allegations contained in paragraph

             61 of the complaint for lack of sufficient knowledge or information so as to form a

             belief as to the truth thereof.

        62. Paragraph 62 of the complaint is denied.

        63. Paragraph 63 of the complaint is denied.

        64. Paragraph 64 of the complaint is denied.

                                    Count I – Declaratory Judgment

        65. Defendants reallege and incorporate their responsive answers to paragraphs 1 through

             64 as if fully set forth herein.

        66. Paragraph 66 of the complaint is denied.

        67. Paragraph 67 of the complaint is denied.

        68. Paragraph 68 of the complaint is denied.

        69. Paragraph 69 of the complaint is denied.

        70. Defendants neither admit nor deny the truth of the allegations contained in paragraph

             70 of the complaint for lack of sufficient knowledge or information so as to form a

             belief as to the truth thereof.



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                                            Count II – Injunctive Relief

        71. Defendants reallege and incorporate their responsive answers to paragraphs 1 through

             70 as if fully set forth herein.

        72. Paragraph 72 of the complaint is denied.

        73. Paragraph 73 of the complaint is denied.

        74. Paragraph 74 of the complaint is denied.

        75. Paragraph 75 of the complaint is denied.

        76. Defendants neither admit nor deny the truth of the allegations contained in paragraph

             76 of the complaint for lack of sufficient knowledge or information so as to form a

             belief as to the truth thereof, and each and every other allegation of plaintiff's

             complaint not heretofore admitted nor denied is hereby denied.

        77. Each and every other allegation set forth in the complaint not specifically responded to

             above is hereby denied.

        WHEREFORE, Defendants having responded fully two pointers complaint hereby

        demand judgment in their favor with all costs cast upon plaintiff.

         This 18th day of August, 2021.


109 S. Ashley Street                                  COLEMAN TALLEY LLP
Valdosta, GA 31601
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(229) 333-0885 facsimile                              /s/ Gregory T. Talley
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Beau.howell@colemantalley.com                         Georgia Bar No. 696705
Kayla.barnes@colemantalley.com                        A.A. Howell, IV
                                                      Georgia Bar No. 689955
                                                      Kayla H. Barnes
                                                      Georgia bar No. 301948




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                VALDOSTA DIVISION

PIMPAKTRA RUST

         Plaintiff,

vs.                                                   I   CIVIL ACTION
                                                      i
VINA E. RUST, CHAKDHARI A. RUST, Case No. 7:21-cv-00105-HL
and THE BRYN MAWR TRUST
COMPANY OF DELAWARE

         Defendants.


                                                          VERIFICATION



         PERSONALLY APPEARED, VINA E. RUST, who, upon being duly sworn, deposes

and says the contents to the above ANSWER AND DEFENSES OF VINA ELISE RUST,

CHAKDHARI ANISSA RUST, INDIVIDUALLY AND AS CO-EXECUTORS OF THE

ESTATE OF RICHARD C. RUST, SUCCESSOR IN INTEREST AS EXECUTOR OF

THE ESTATE OF PHILIP G. RUST, JR. are true and correct.




                                                                           \J�v:::
                                                                   VinaE. Rust

Sworn to and subscribed before                      JOHN M AMES
Me this I     ay of August, 2021.                   Notary Public
                                                 State of Washington
                                                Cornrnission II 206045
                                           My Comm. Expires Mar 24, 2023




My commission expires: CJ 3   /i.'-J ) z oz_:;,

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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE MIDDLE DISTRICT OF GEORGIA
                                        VALDOSTA DMSION

   PIMPAKTRA RUST

           Plaintiff,

   vs.                                           CIVIL ACTION

    VINA E. RUST, CHAKDHARI A. RUST, Case No. 7:21-cv-00105-
                                                             HL
    and THE BRYN MAWR TRUST
    COMPANY OF DELAWARE

           Defendants.


                                                  VERIFICATION



           PERSONALLY APPEARED, CHAKDHARI A. RUST, who, upon being duly sworn,

  deposes and says the contents to the above ANSWE�AND DEFENSES OF VINA ELISE

  RUST, CHAKDHARI ANISSA RUST, INDIVIDUALLY AND AS CO-EXECUTORS OF

  THE ESTATE OF RICHARD C. RUST, SUCCESSOR IN INTEREST AS EXECUTOR

  OF THE ESTATE OF PHILIP G. RUST, JR. are true and correct.




                                                       �122.:�
                                                       Chakdhari A. Rust

 Sworn to and subscribed before
 Me this t?-ftday of August, 2021.
                                                  Notary Certificate Attached

 Notary Public        U--r-e,,-f;4- tl-,- I (
My commission expires: 2 - r2.. - 2trz-..S-



4833-5734-3221,v. 1
                                      Case 7:21-cv-00105-HL Document 2 Filed 08/18/21 Page 11 of 13
                                          . ____                              CALIFORNIA JURAT
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                VALDOSTA DIVISION


PIMPAKTRA RUST

        Plaintiff,

vs.                                             CIVIL ACTION

VINA E. RUST, CHAKDHARI A. RUST, Case No. 7:21-cv-00105-HL
and THE BRYN MAWR TRUST
COMPANY OF DELAWARE

        Defendants.




                                 CERTIFICATE OF SERVICE

The undersigned hereby certifies that he has this day mailed a copy of the foregoing ANSWER
AND DEFENSES OF VINA ELISE RUST, CHAKDHARI ANISSA RUST, INDIVIDUALLY AND
AS CO-EXECUTORS OF THE ESTATE OF RICHARD C. RUST, SUCCESSOR IN INTEREST
AS EXECUTOR OF THE ESTATE OF PHILIP G. RUST, JR. in an envelope properly addressed
and with sufficient postage thereon for delivery, to:


                                      Frank Faison Middleton, IV
                                          Watson Spence LLP
                                            P.O. Box 2008
                                        320 W. Residence Ave.
                                      Albany, Georgia 31702-2008


         This 18th day of August, 2021.




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                                           Georgia Bar No. 689955
                                           Kayla H. Barnes
                                           Georgia bar No. 301948




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